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   8                                    UNITED STATED DISTRICT COURT
   9                                   CENTRAL DISTRICT OF CALIFORNIA
  10                                             EASTERN DIVISION
  11      CARTER BRYANT, an individual,                        CASE NO. CV 04- 9049 SGL (RNBx)
  12                                        Plaintiff,         Consolidated with Case No . 04-9059
                                                               and Case No . OS-2727
  13                           v.
                                                               Honorable Stephen G. Larson
  14 MATTEL, INC., a Delaware
     corporation,                                              [PROPOSED] ORDER
  15                                                           REGARDING VARIOUS
                          Defendant.
  16                                                           DISCOVERY MOTIONS,
                                                               APPLICATIONS AND OTHER
  17 AND CONSOLIDATED ACTIONS                                  MATTERS UPON WHICH THE
  18                                                           COURT RULED ON MAY 27, 2008

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                            [Proposed] .order Regarding Certain Motions Heard on May 27, 2008
                                             Case No. CV 04-9049 SGL (RNBx)
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   1                                                ORDER

   2            Pursuant to the Court's request dated May 27, 2008, Mattel, Inc. ("Mattel")
   3 and MGA Entertainment, Inc., Isaac Larian, MGA Entertainment (HK) Limited,
   4 MGAE de Mexico, S.R.L. de C.V. {collectively, the "MGA Parties") jointly submit
   5 this [Proposed] Order regarding the Court's rulings on the various discovery
   6 motions, applications and other matters heard by the Court on May 27, 200$, the
   7 Honorable Stephen G. Larson presiding. After consideration of the motions,
   8 applications and other matters, the papers f led in support thereof and in opposition
   9 thereto, the argument of counsel and the other pleadings and papers on file in this
  10 action, and good cause appearing therefor, IT IS HEREBY ORDERED that:
  11             1.        Mattel's Ex Parte Application for Order That There Is No Basis Under
  12 the Protective Order for Mattel to Return Five Documents Produced by MGA is
  13 GRANTED IN PART AND DENIED IN PART. The Court grants Mattel's
  14 application as to the Payment List (MGA 3819497-506}, the Employee List One
  15 (MGA 0868630631) and the Employee List Two (MGA i 134723-730). The Court
  16 denies Mattel's application as to the Bratz Sales Sheet (MGA 0815789}. Mattel's
  17 application as to the December 7, 2000 facsimile (MGA 0829296) has been resolved
  1$ through the meet and confer process.

  19             2.        Mattel's Motion to Enforce Trial Subpoenas Issued to Ana Cabrera and
  20 Beatriz Morales is DEFERRED as not ripe for consideration.

  21             3.        Mattel's Motion for Order Enforcing the Court's December 27, 2007
  22 Order Compelling Isaac Larian to Produce Certain Documents is DENIED, and

  23 Mattel's Ex Parte Application to Expedite the Court's Hearing of Mattel's Motion for
  24 Order Enforcing the Court's December 27, 2007 Order Compelling Isaac Larian to
  25 Produce Certain Documents is DENIED as moot.
  26             4.        Mattel's Motion for Order Compelling Isaac Larian to Respond to Trial
  27 Subpoena is GRANTED IN PART and DENIED IN PART. Isaac Larian is ordered
  28 to have available for his testimony at trial the documents referenced in item number
       0720902520274.2                                  1
                         [Proposed) Order Regarding Certain Motions Heard on May 27, 2008
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   1 4 of his trial subpoena, including without limitation documents sufficient to show
   2 sales revenue, costs of goods sold, variable costs, gross margins, royalties paid and
   3 received, gross prof is and net profits up through and including the end of f scat year
   4   2ao7.
   5           5.        Mattel's Motion for Order Compelling Production of Communications
   6 Made in Furtherance of Crimes and Frauds is DENIED without prejudice. The
   7 Court will reconsider this Motion in the context of the trial.
   8           6.        Mattel's Motion to Enforce the Discovery Master's May 7, 2008 Order
   9 is GRANTED.                 Wachovia is ordered to produce all loan agreements and loan
  10 documents related to any loans that MGA entered into, sought, or requested from
  11 Wachovia in 1999 and 2000, including those related to earlier loan agreements or
  12 :financing agreements.
  13           7.        Donald Moon's Motion to Quash MGA Trial Subpoena Issued to
  14 'Donald K. Moon is DENIED. Mattel may reserve all objections as to relevance.
  15            8.       Mattel's Motion for Order Finding That Certain Documents Are
  16 .Authentic, Granting Adverse Inference Jury Instructions and Precluding Certain
  17 ^ Testimony Sased on Invocation of Fifth Amendment and MGA's Violation of Court
  18 Orders is DENIED without prejudice. The Court will treat the motion as a trial brief
  19 and will allow the MGA Parties to f le a trial brief on the matter.
  20           9.        The MGA Parties' Motion to Strike Portions of the Pretrial Conference
  21 I Order is GRANTED IN PART and DENIED IN PART. The Court denies the
  22 motion as to the "Bratz" name . The Court grants the motion as to the registration of
  23 ^ the control drawing.
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  25 SO ORDERED:
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  27 Dated:
                                                              The Honorable Stephen G. Larson
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                       [Proposed] Order Regardin g Certain Motions Heard on May 27, 2008
                                            Case No. CV 04-9D49 SGL (RNBx}
